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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

YILI TSENG,

Plaintiff, 2:20-cv-01121-CRE

Vv.

 

MADISON HARRIS, DOE 1, DOE 2, DOE 3,
DOE 4, DOE 5, DOE 6, DOE 7, DOE 8, DOE 9,
DOE 10, DOE 11, DOE 12, DOE 13, DOE 14, |
and DOE 15,

AUG 12 2020

CLERK U.S. DISTRICT COURT
WEST, DIST. OF PENNSYLVANIA

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Defendants,

RESPONSE TO ORDER TO SHOW CAUSE

COMES NOW, Plaintiff responds to ORDER TO SHOW CAUSE. In fact, Plaintiff identified the
names of two out of sixteen defendants, namely Madison Harris (“Harris”) and Connie Lemke ~
(“Lemke”), by the contents of the redacted joint complaint (Ex. 1 of Compl. (ECF No.1)). By “I am 100%
uncertain with how I am even doing overall in this class and when I asked to know my grade, I was told
not to worry about it.” (p.5, Ex.1, Compl.)(Ex. 1) Plaintiff identified Lemke as she was the only student in
the class that had inquired about grade status. Harris was identified by contents and her threat to Plaintiff
before. Harris’ address was known as shown on the intake form for the discrimination complaint (Ex. 2).
Plaintiff did not name Lemke in Complaint because her residence address was unknown and Plaintiff was
concerned that Complaint cannot be properly served without address. Plaintiff planned to name Lemke
and other Defendants in the action once addresses of all Defendants are provided by Slippery Rock
University (““SRU”).

As shown on Lemke’s Facebook page downloaded on August 7, 2020 (Ex. 3), she resides in
Plainfield, Illinois. In order to be certain, Plaintiff also checked Lemke’s LinkedIn account which shows
she is a student of SRU who is surely a defendant in this lawsuit (Ex. 4). Plaintiff compared the personal

photos posted by Lemke on Facebook (Ex.5) and LinkedIn (Ex. 6) and found that both persons are green-
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eyed and have nose-rings on while their faces look the same. Clearly both accounts belong to the same
Lemke. Therefore, Lemke is a citizen of Illinois. Plaintiff resides in Pennsylvania. The relief request is
$605,000. Pursuant to 28 U.S.C. § 1332 (a) and (1), this Court has original jurisdiction of all civil actions.
Hence, this case should not be dismissed for lack of jurisdiction.

Plaintiff will amend the Complaint to name Lemke and all other Defendants after SRU provides
names and addresses of all Defendants.
Dated: August 10, 2020

Respectfully submitted,

YILI TSENG, Ph.D.

156 Lexington Drive

Cranberry Township, PA 16066-3728
Cell: 336-918-1689

Pro Se
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CERTIFICATE OF SERVICE
I, the undersigned, hereby certify that on this 10th day of August, 2020, I have served the

foregoing RESPONSE TO ORDER TO SHOW CAUSE by USPS 1* class mail on the following:

Yb hog

Cc”

Madison Harris
1479 State Route 168
Georgetown, PA 15043-1090

YILI TSENG, Ph.D.

156 Lexington Drive

Cranberry Township, PA 16066-3728
Cell: 336-918-1689

Pro Se
